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October 19, 2020

VIA ECF
Hon. Katherine P. Failla
U.S. District Court
Southern District of New York
40 Foley Square
New York, NY 10007

Re:    Morales v. New York City Transit et al., Case No. 1:19-cv-07061-KPF

Dear Judge Failla:

         We represent Defendants New York City Transit Authority and Manhattan and Bronx
Surface Transit Operating Authority (collectively, “NYCTA”) in this matter. We write to inform
the Court that the parties have agreed on final terms of settlement, pending signatures by the
parties.

        In light of the parties’ resolution, NYCTA respectfully requests that its deadline to respond
to the Second Amended Complaint be stayed for thirty (30) days, pending the parties’ execution
of the Settlement Agreement and subsequent filing of a Stipulation of Discontinuance. Plaintiff
consents to this request.

        The original due date for NYCTA’s response to the Second Amended Complaint was
September 4, 2020. This deadline was extended to October 5 (see ECF No. 49) and subsequently
to October 19 (see ECF No. 52), pending the parties’ settlement discussions. This is Defendants’
third request for an extension to respond to the Second Amended Complaint, and first request for
a short stay. This extension will not impact any other deadlines in this case.

       Thank you for your consideration.

                                                      Respectfully submitted,

                                                      /s/ Gena B. Usenheimer

                                                      Gena B. Usenheimer


CC:    All counsel of record (via ECF)
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Application GRANTED. All deadlines and conferences are hereby adjourned.
Furthermore, the Court ORDERS that this action be conditionally
discontinued without prejudice and without costs; provided, however, that
within 30 days of the date of this Order, the parties may submit to the
Court their own Stipulation of Settlement and Dismissal for the Court to
So Order. Otherwise, within such time Plaintiff may apply by letter for
restoration of the action as to Defendants New York City Transit Authority
and Manhattan and Bronx Surface Transit Operating Authority to the active
calendar of the Court in the event that the settlement is not consummated.
Upon such application for reinstatement, the parties shall continue to be
subject to the Court’s jurisdiction, the Court shall promptly reinstate
the action as to Defendants New York City Transit Authority and Manhattan
and Bronx Surface Transit Operating Authority to its active docket, and
the parties shall be directed to appear before the Court, without the
necessity of additional process, on a date within ten (10) days of the
application, to schedule remaining pretrial proceedings and/or dispositive
motions, as appropriate. This Order shall be deemed a final
discontinuance of the action with prejudice in the event that Plaintiff
has not requested restoration of the case to the active calendar within
such 30-day period.

The Clerk of Court is directed to terminate all pending motions, adjourn
all remaining dates, and close this case.


Dated: New York, New York             SO ORDERED.
       October 19, 2020




                                      HON. KATHERINE POLK FAILLA
                                      UNITED STATES DISTRICT JUDGE
